Case 2:03-CV-02567-BBD-tmp Document 253 Filed 08/19/05 Page 1 of 4 Page|D 281

 

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Piainrirr, ) *
)
v. ) No. 03-2567-1)/P
)
HoME TECH sERvIcEs Co., INC., )
MEMPHIS FINANCIAL sERvICEs, INC., )
woRLDwIDE MoRTGAGE coRP., )
wAcHole BANK 0F DELAWARE )
NATIoNAL AssoclATIoN, EQUITY TITLE )
ANI) EscRow co. 0F MEMPHIS, LLC, )
GREGG DREW, CAREY CALIFF, )
sTEvEN wINKEL, AND ERNEST WELLS, )
)
Defendants. )

 

ORDER GRANTING UNOPPOSED MOTION OF
EQUITY TITLE AND ESCROW CO. OF MEMPHIS, LLC,
CAREY CALIFF AND STEVE WINKEL
FOR EXTENSION OF TIME TO DISCLOSE EXPERTS

 

Before the Court is the Unopposed Motion of Equity Title and Escrow Co, of Memphis,
LLC, Carey Califf and Steve Winkel for Extension of Tirne to Disclose Experts. The Court finds
that the Motion is well taken and should be granted.

IT IS, THEREFORE, ORDER_ED, ADJUDGED AND DECR_EED that the deadline for
disclosure of experts by Equity Title and Escrow Co. of Memphis, LLC, Carey Califf and Steve
Winkel is extended and that these Defendants Will not be required to disclose any experts until

sixty (60) days following Plaintiff"s disclosure of experts

Thls document entered on the docket

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Case 2:03-CV-O2567-BBD-tmp Document 253 Filed 08/19/05 Page 2 of 4 Page|D 282

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Notice of Distribution

This notice confirms a copy of the document docketed as number 253 in
case 2:03-CV-02567 Was distributed by fax, mail, or direct printing on
August 24, 2005 to the parties listed.

ESSEE

 

.1 ames R. NeWsom

HARRIS SHELTON HANOVER V\MLSH7 PLLC.

One Commerce Square
Ste. 2700
Memphis7 TN 38103--255

Bruce E. Alexander

WEINER BRODSKY SlDMAN KIDER, P.C.

1300 19th Street, N.W.
5th floor
Washington, DC 20036--160

Virginia M. Patterson

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

Memphis7 TN 38103

Loys A. Jordan
MCDONALD KUHN
119 South Main St.
Ste. 400

Memphis7 TN 38103

Sapna V. Raj

h/[El\/[PH[S AREA LEGAL SERVICES, INC.

109 N. Main Street
Ste. 201
Memphis7 TN 38103

Mary Katherine Hovious

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

Memphis7 TN 38103

Case 2:03-cV-O2567-BBD-tmp Document 253 Filed 08/19/05

W. Timothy Hayes

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

Memphis7 TN 38103

.1 ohn S. GolWen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

Memphis7 TN 38103

Kristen C. Wright

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

Memphis7 TN 38103

R. Porter Feild

BURCH PORTER & JOHNSON
130 N. Court Avenue

Memphis7 TN 38103

Evan Nahmias
MCDONALD KUHN
119 South Main St.
Ste. 400

Memphis7 TN 38103

Webb A. Brewer

1\/[E1\/[PH[S AREA LEGAL SERVICES, INC.
109 N. Main Street

Ste. 201

Memphis7 TN 38103

Mitchel H. Kider

WEINER BRODSKY SlDMAN KIDER, P.C.

1300 19th Street, N.W.
5th floor
Washington, DC 20036--160

Honorable Bernice Donald
US DISTRICT COURT

Page 4 of 4 Page|D 284

